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                                                                                                                                                US011064038B2

  ( 12 ) Diem
         United States Patent                                                                                  ( 10) Patent No .: US 11,064,038 B2
                                                                                                               (45 ) Date of Patent :   Jul . 13 , 2021

  ( 54 ) METHOD FOR TRACKING MOBILE                                                                     ( 56 )                                   References Cited
           OBJECTS BASED ON EVENT CONDITIONS
           MET AT MOBILE OBJECT LOCATIONS                                                                                           U.S. PATENT DOCUMENTS
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  ( 71 ) Applicant: Perdiem Co LLC , Marshal, TX (US )                                                           5,263,158 A                      11/1993 Frederick
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  (72 ) Inventor: Darrell Diem , Madison, AL (US )
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  ( 73 ) Assignee : Perdiemco LLC , Marshall , TX (US )
                                                                                                        EP                           1720370 A1                11/2006
  ( * ) Notice: Subject to any disclaimer, the term of this                                             WO                        1990013186                   11/1990
                    patent is extended or adjusted under 35                                                                                            ( Continued )
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  ( 21 ) Appl . No .: 17/081,948
                                                                                                        Geotab , Inc. , Geotab User Guide Checkmate by Geotab : Fleet
  (22) Filed :        Oct. 27 , 2020                                                                    Recording, Reporting and Analysis Solution , ( Dec. 21 , 2005 ) .
  ( 65 )               Prior Publication Data
                                                                                                                                 (Continued )
           US 2021/0044663 A1     Feb. 11 , 2021
                                                                                                        Primary Examiner Congvan Tran
                                                                                                        (74 ) Attorney, Agent, or Firm — Vector IP Law Group
                                                                                                        PLLC ; Robert S. Babayi
                 Related U.S. Application Data                                                          ( 57 )                  ABSTRACT
  ( 60 ) Continuation of application No. 16/ 828,728 , filed on                                         An improved system and method for defining an event based
         Mar. 24 , 2020 , now Pat. No. 10,819,809 , which is a                                          upon an object location and a user - defined zone and man
                                                                                                        aging the conveyance of object location event information
                           ( Continued )                                                                among computing devices where object location events are
  (51 ) Int. Ci.                                                                                        defined in terms of a condition based upon a relationship
           H04W 12/08            ( 2021.01 )                                                            between user - defined zone information and object location
           H04L 29/08             ( 2006.01 )                                                           information . One or more location information sources are
                                                                                                        associated with an object to provide the object location
                           ( Continued )                                                                information . One or more user -defined zones are defined on
  ( 52 ) U.S. CI .                                                                                      a map and one or more object location events are defined .
         CPC          H04L 67/18 (2013.01 ) ; G06F 16/9535                                              The occurrence of an object location event produces object
                          (2019.01 ) ; H04L 63/083 ( 2013.01 ) ;                                        location event information that is conveyed to users based
                          (Continued )                                                                  on user identification codes . Accessibility to object location
  ( 58 ) Field of Classification Search                                                                 information, zone information, and object location event
         CPC ..... HO4L 67/18 ; HO4L 63/104 ; H04L 63/105 ;                                             information is based upon an object location information
                    H04L 63/107 ; H04L 67/22 ; H04L 67/24 ;                                             access code , a zone information access code, and an object
                                 H04M 1/72572 ; H04W 4/02                                               location event information access code , respectively .
                          ( Continued )                                                                                12 Claims , 21 Drawing Sheets
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                 Related U.S. Application Data                          ( 58 ) Field of Classification Search
                                                                               USPC                                       455 / 456.3
        continuation of application No. 16 / 547,408 , filed on                See application file for complete search history.
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  Geotab’s Exhibit B5-5 Staton 931 Invalidity Chart, Nov. 20 , 2015 ,   Texas, Marshall Division .
  filed in the U.S. District Court for the Eastern District of Texas,   Geotab'S Exhibit C1-1 Checkmate 012 Invalidity Chart, Nov. 20 ,
  Marshall Division .                                                   2015 , filed in the U.S. District Court for the Eastern District of
  Geotab’s Exhibit B6-1 Elliot 012 Invalidity Chart, Nov. 20 , 2015 ,   Texas, Marshall Division .
  filed in the U.S. District Court for the Eastern District of Texas,   Geotab's Exhibit C1-2 Checkmate 207 Invalidity Chart, Nov. 20 ,
  Marshall Division .                                                   2015 , filed in the U.S. District Court for the Eastern District of
  Geotab's Exhibit B6-2 Elliot 207 Invalidity Chart, Nov. 20 , 2015 ,   Texas, Marshall Division .
  filed in the U.S. District Court for the Eastern District of Texas,   Geotab's Exhibit C1-3 Checkmate 166 Invalidity Chart, Nov. 20 ,
  Marshall Division .                                                   2015 , filed in the U.S. District Court for the Eastern District of
  Geotab's Exhibit B6-4 Elliot 499 Invalidity Chart, Nov. 20 , 2015 ,   Texas, Marshall Division .
  filed in the U.S. District Court for the Eastern District of Texas,   Geotab's Exhibit C1-4 Checkmate 499 Invalidity Chart, Nov. 20 ,
  Marshall Division .                                                   2015 , filed in the U.S. District Court for the Eastern District of
  Geotab's Exhibit B6-5 Elliot 931 Invalidity Chart, Nov. 20 , 2015 ,   Texas, Marshall Division .
  filed in the U.S. District Court for the Eastern District of Texas,   Geotab's Exhibit C1-5 Checkmate 931 Invalidity Chart, Nov. 20 ,
  Marshall Division .                                                   2015 , filed in the U.S. District Court for the Eastern District of
  Geotab's Exhibit B7-1 012 Invalidity Chart ( Sanqunetti), Nov. 20 ,   Texas, Marshall Division .
  2015 , filed in the U.S. District Court for the Eastern District of
  Texas, Marshall Division .                                            * cited by examiner




                                                                                                                                        Exhibit G
                                                                                                                                    Page 10 of 43
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                      114a
                                                                                     4200
                                      1261
                                                                              126a
                                                                                      114b
                         1261 1146                  120b
      114b 126h
                                                                       102                   1146
                  114b
              126g       124                                                                  126b
                                 Digital Ty
    114b                                                                     122b
                           122a                                                      1146           114b


     ?
           126e        126f             9                  108
                                                                                            C

                  116b

                  6        SMS                106      114b      Server
                                                                 110 112
                                                                                             126c


                                                                       1260                   118a
                  0       116a
                                                                       120a

                         114b                         118b




                                                 FIG . 1




                                                                                                         Exhibit G
                                                                                                     Page 11 of 43
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            Driving Directions: Luke - EkoHera                                                                                                                           Ergebly Yaral                                                     al


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                                                                                                           mu




                                                                                FIG . 2




                                                                                                                                                                                                                                                             Exhibit G
                                                                                                                                                                                                                                                         Page 12 of 43
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   302
          Associate User identification Codes with Computing Devices
   304
             Associate Location Information Source with an Object
    306
                           Define a User -defined Zone

    308
           Define an Object Location Event Relating Object Location
                  Information to User- define Zone Information

   310
            Determine an Occurrence of the Object Location Event

    312     Convey Object Location Event Information to Computing
                Devices Based Upon User Identification Codes




                                         FIG . 3




                                                                                 Exhibit G
                                                                             Page 13 of 43
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   302
          Associate User Identification Codes with Computing Devices
                                                                                ***
   304          Associate Location Information Source with an Object       42
   402        Associate Object Location Information Access Code with
                  Object Location Information Relating to the Object

              Convey Object Location Information to Computing Devices
              Based Upon Object Location Information Access Code and
                               User Identification Codes

    306
          I                   Define a User- defined Zone

    308
              Define an Object Location Event Relating Object Location
                    Information to User-defined Zone Information

                Determine an Occurrence of the Object Location Event

    312        Convey Object Location Event Information to Computing
                   Devices Based Upon User Identification Codes


                                            FIG . 4




                                                                                          Exhibit G
                                                                                      Page 14 of 43
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   302
          Associate User Identification Codes with Computing Devices
                                                                             500
    304
             Associate Location Information Source with an Object
    306                    Define a User- defined Zone

    502     Associate a User - defined Zone Information Access Code
               with Corresponding User-defined Zone Information
    504       Convey User-defined Zone Information to Computing
             Devices Based Upon a User-defined Zone Information
                  Access Code and User Identification Codes

    308     Define an Object Location Event Relating Object Location
                  Information to User- defined Zone Information

    310
             Determine an Occurrence of the Object Location Event

    312     Convey Object Location Event Information to Computing
                 Devices Based Upon User identification Codes


                                         FIG . 5




                                                                                  Exhibit G
                                                                              Page 15 of 43
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   302
          Associate User Identification Codes with Computing Devices
   304       Associate Location Information Source with an Object
    306                    Define a User - defined Zone

    308     Define an Object Location Event Relating Object Location
                  Information to User -defined Zone Information

    602
           Associate Object Location Event Information Access Code
             with Object Location Event Information Relating to the
                             Object Location Event

    310      Determine an Occurrence of the Object Location Event
    604
            Convey Object Location Event Information to Computing
            Devices Based Upon Object Location Event Information
                  Access Code and User Identification Codes




                                         FIG . 6




                                                                                  Exhibit G
                                                                              Page 16 of 43
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   302
          Associate User Identification Codes with Computing Devices
                                                                             700
   304
             Associate Location Information Source with an Object       a2
   402
           Associate Object Location Information Access Code with
              Object Location Information Relating to the Object
   404
           Convey Object Location Information to Computing Devices
           Based Upon Object Location Information Access Code and
                           User Identification Codes

   306
                          Define a User- defined Zone

   502
           Associate a User - defined Zone Information Access Code
              with Corresponding User -defined Zone Information
   504       Convey User -defined Zone Information to Computing
             Devices Based Upon a User-defined Zone Information
                  Access Code and User Identification Codes

   308
           Define an Object Location Event Relating Object Location
                 Information to User -defined Zone Information

   602
          Associate Object Location Event Information Access Code
            with Object Location Event Information Relating to the
                            Object Location Event

            Determine an Occurrence of the Object Location Event
   604
           Convey Object Location Event Information to Computing        FIG . 7
           Devices Based Upon Object Location Event Information
                 Access Code and User Identification Codes



                                                                                 Exhibit G
                                                                             Page 17 of 43
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             Application Launch Screen
                  Program . 7
                           Programs
                                                                800
                                                           dat


                                                          802




                                       FIG . 8
                        Main Screen
                      pertiemCD * Y * 3:36

                                                          2 *****




                               Burtons




                                       FIG . 9


                                                                            Exhibit G
                                                                        Page 18 of 43
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               Configuration Screen
                        Start               t €303
                                          ***
                                                               1000
                        2222

                        12565551212
                        ???? ? ???




                                       LOG OFF


                                 FIG . 10

                         GPS Screen
                         Permenka GPS 74.414
                                                               1100
                     Lected                                 mateur
                     400
                     SA

                     Play Store og
                                                   Tos      1102
                                           Setup     Stop
                                                    Close

                                 FIG . 11


                                                                                     Exhibit G
                                                                                 Page 19 of 43
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                Tracking Setup Screen
                               Demo GPS            2:54
                                                                  1200
                                                                 120
                           8   300




                           SGPGGA 203206,056,3442.6873

              1202         ASUKOBA



                                   FIG . 12a

              Log File Selection Screen
                             remco GPS            : 937
                                                                  1204



                       LORS                       427 6:23.
                                       Business   6725 4:08
                                                  430 6:28 .
                                                  3,28 11: 4 .




                                                             A




                                   FIG . 12b


                                                                                  Exhibit G
                                                                              Page 20 of 43
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                               2                Sheet 11 of 21    US 11,064,038 B2


                           Map Screen
                           w                            11:41
                       16:31                                          1300



                               th               Huntsville


            1302


                                       FIG . 13a
                            Data Screen
                            TRACKING                   * 243
                                                     OSRED
                                                                      1304
                                   2272
                                                                 42
                                   20131 Abar     RA
                          To       Info addiem.com

                                   Zone Alert !
                         10 : 2565551212@myphoneco.com




                                          FIG . 13b


                                                                                  Exhibit G
                                                                              Page 21 of 43
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                    Zone Screen
                  TRARSS               * 1:05
                                                                1306
                                                         1113




                           FIG . 13c
                     Size Screen
                 TRACKIN               - 4 1:13

                    O X1 ( 1 mi )                    2   ***


                                       State




                             FIG . 13d


                                                                                       Exhibit G
                                                                                   Page 22 of 43
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                    About Screen
                   .TR
                     TRA
                           48:17
                                                          1310
                    Trackal PSSIES
                                                         ###


                     About :

                    Copyright © 2005-2006




                               FIG . 13e




                                                                               Exhibit G
                                                                           Page 23 of 43
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                  Group Screen
                     anta              * Y       4:44
                   DO 1561709934 H


                                  De    har
                                  12564798954
                   HRT



                   Bob , 12564798954,0006




                             FIG . 14
                 Contact Screen
                  contact              ** Y * 57
                   Hyattikotell 5 Embarcadero                 1500

                                             USES



                                        Address 1

                   Map 09.)            With im Miss


                               FIG . 15


                                                                                 Exhibit G
                                                                             Page 24 of 43
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                         Camera Screen
                            ausgestat



                                                            TAS




                                        FIG . 16
                     Big Buttons Screen
                                                                sto




                                        FIG . 17




                                                                                      Exhibit G
                                                                                  Page 25 of 43
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                              Map Viewer Web Page
                                                                                                                            1800




                Perdlemco Map Viewer for displaying Maps
                created with PerDlemco Tracking Software .
                Member links require a user login Code !
                 Location Map                                                                                Location Map
                 Track Map                                                                                   Track Map
                                                                                                             UUTA

                 Photo Map                                                                                   Pirotos
                 -I +++ IVU              SYG   - VINYYYY - TISL.'.---------- Y - Yin                  Y ..


                 MEMBER Login                                                                                Lozla
                 Meraba Map                                                                                  Groups
                 Member Zone Tool                                                                            Zane Tool
                 Member Photo Map                                                                            Photo Viaxes
                 Member Photo Edit
                 VEBER Logout                                                                                Lor
                                  LY .     11 . - ...--YYY.L' . - .   - .--- ---........ IT - '   .




                                                       FIG . 18




                                                                                                                                            Exhibit G
                                                                                                                                        Page 26 of 43
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                   Contact Viewer Web Page
                Branka Vion Host
                            :    Internet Expli>
              File EX   WA   Fayontes   Tools
                                                                                             1900
                                 iX
                                                *** Seuraa   Favorites
              $ 7905htepi mm.pendekco.comcontact.htm          ** !!* : . : . . ? ! ... KT
              Cangke orghi sms 289 €                --- *        tin                 TRX




               Perbiemco Contact Viewer for displaying Contact
               Map created with Perbiemco Tracking Software .
               Thia Information requires a user access Codei

               Please enter Contact ID and Access Code
               Contacto
               Code
                Reset           Send no *




                                            FIG . 19




                                                                                                            Exhibit G
                                                                                                        Page 27 of 43
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                      GPS Tracking and Zone Data                                                                             2000

           BACK
           Code:Group Vcde medor MORK .            ?????
                                          Enters size
                                                                                                            Satelit        Horld
                                          Stuus:
                                                                                        ?
                                          E : 16      :250.8 : 32 :56                                                         OR
                                          1256617X52IY

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           07801
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                                                                           1993




                                                      FIG . 20




                                                                                                                                              Exhibit G
                                                                                                                                          Page 28 of 43
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                               Zone Creation                            210
               112565551212

                                                                Velike Hybrid
    BE
                              ...




               3                                           72




                                    FIG . 21




                                                                                    Exhibit G
                                                                                Page 29 of 43
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                       Zone -based Logging                                2200



     CodeGroup Name andor Phones

          1




           BOT
        alli
         ?




                 Madison
                                                      22 2826                257
                                                                             (

                                                                   2202
                                              2204


                                         FIG . 22




                                                                                     Exhibit G
                                                                                 Page 30 of 43
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        Picture Associated with Location 2300                          Than ??




                                              2302

                                                          D
    EBD                                                               COEX

                                1256617x53x125661705202222.png
       son



                                   FIG . 23




                                                                                     Exhibit G
                                                                                 Page 31 of 43
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                                                      US 11,064,038 B2
                                 1                                                                 2
           METHOD FOR TRACKING MOBILE                                zone Upon meeting the condition , information regarding the
      OBJECTS BASED ON EVENT CONDITIONS                         event is conveyed to the at least one of the one or more users .
        MET AT MOBILE OBJECT LOCATIONS                          The one or more users can access at least one of the location
                                                                information , information relating to the zone or conveyed
                FIELD OF THE INVENTION                        5 information regarding the event using one or more access
                                                                control codes . The access control codes can be configured to
     The present invention relates generally to a system and require multiple levels of access control.
  method for defining an event based on the relationship of an forThus  , the present invention relates to a system and method
                                                                    defining events that are correlated with the location of
  object location and a user - defined zone and managing the
  conveyance of information related to such object location 10 one or more objects to one or more zones. Hereinafter, such
  event among computing devices. More particularly, the events are referred to as object location events. The object
  present invention relates to defining an object location event location events can be defined at an application level or a
  based on the location of an object relative to a user - defined    user level . The system and method of the invention also
  zone and managing the conveyance of object location event conveys information relating to the object location event to
  information among computing devices based on user iden- 15 one or more computing devices, which , in an exemplary
  tification codes associated with the computing devices .   embodiment of the invention, are associated with corre
                                                             sponding identification codes of one or more users . For
            BACKGROUND OF THE INVENTION                      example , association of a user identification code with a
                                                               computing device can be an embedded association ( e.g. ,
    Various sources of information are available for deter- 20 hard -wired ) or it can be based on a user log - in at the
  mining the location of an object. Such location information        computing device. In one embodiment, the object location
  sources include Global Positioning System (GPS ) receivers,        event relates to information about a location of an object and
  radars, radio frequency identification ( RFID ) tags , and vari-   information about a zone that is defined by a user. The
  ety of other technologies that can be used to determine            information about the location can be derived from a loca
  location information pertaining to an object, which might be 25 tion information source that is associated with the object.
  moving or stationary. Such location information has been Under this embodiment, the object location event occurs by
  used to track vehicles, packages , people , etc. and to enable satisfaction of a defined relationship or condition between
  a variety of location aware applications including location the object location information and user - defined zone infor
  aware toll systems , material handling and supply chain mation . Once the condition is satisfied, information corre
  management systems , and the like . Thus far, such location 30 sponding to the occurrence of the object location event is
  aware applications have mostly involved computing devices conveyed to a computing device . In one embodiment of the
  specifically programmed to provide location -aware func- invention , the information is conveyed to the computing
  tionality in a useful but predetermined manner . For example , device in accordance with a corresponding user identifica
  scanners have been used as sources of information to convey tion code .
  the locations of shipping containers as they progress through 35 In one exemplary embodiment, a user can associate a
  various stages en route to a destination, where the specific source of location information with an object and define a
  location of a given shipping container on a shipping dock or zone . Under this arrangement, any other authorized user that
  in a cargo hold can be accessed at any given time               has access to information about location of an object and a
     Technological advancements in computing devices and user - defined zone can also define an object location event for
  information networks, in particular wireless networks, have 40 that zone and receive information about occurrence of the
  enabled users of a variety of computing devices such as event. Under another arrangement, only the user who defines
  smart phones, personal digital assistants ( PDAs ) , laptop a user -defined zone can define an object location event for
  computers , etc. to access and utilize information in more and that zone.
  more locations . For example, such advances now allow              In a further embodiment, an access code is associated with
  users to wirelessly check their email or to surf the Internet 45 information about the location of an object. Under this
  from anywhere that is covered by an appropriate data embodiment, the object location information is conveyed to
  service . Some computing devices have become equipped              the computing device based upon the user identification
  with technologies that integrate various sources that provide      code and an access code associated with the location infor
  information about the location of the devices . For example,       mation . Under another arrangement, only the user that
  known mobile devices have been equipped with GPS receiv- 50 associates a source of location information with an object
  ers , which enable the users to know where they are located can associate the access code with the object location
  at any given time.                                              information as determined by the source of location infor
     As sources that offer location information become more       mation .
  useful in computing devices and within information net-            In yet another embodiment, an access code is associated
  works, there is a need for a system and method that 55 with the user -defined zone information . Under this embodi
  correlates events with location of objects and conveys ment, the user -defined zone information is conveyed to at
  information about such events to computing devices.             least one of the computing devices based upon a correspond
                                                                  ing user identification code and an access code for the
               SUMMARY OF THE INVENTION                           user - defined zone information . Under another arrangement,
                                                               60 only the user that defines a user -defined zone can associate
     Briefly, the present invention relates to conveying infor- the access code with the user - defined zone information .
  mation relating to an object to one or more users . The            In still another embodiment, an access code is associated
  invention requires defining a zone by the one or more users . with information about an object location event. Under this
  An event is also defined in terms of a condition related to a      embodiment, the information about the object location event
  relationship between an object location and the zone . The 65 is conveyed to at least one of the computing devices based
  condition can relate to entry by the object into the zone , exit upon a corresponding user identification code and an access
  by the object from the zone , or proximity of the object to the code for the object location event information . Under


                                                                                                                               Exhibit G
                                                                                                                           Page 32 of 43
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                                                    US 11,064,038 B2
                                 3                                                               4
  another arrangement, only the user that defines the object           FIG . 12b illustrates an exemplary Log File Selection
  location event can associate the access code with the object      Screen of the Location and Tracking software used to select
  location event information .                                      a log file for storing GPS information;
                                                                       FIG . 13a illustrates an exemplary Map Screen of the
         BRIEF DESCRIPTION OF THE DRAWINGS                        5 Location and Tracking software used to display a map
                                                                   received from a map server ;
     The present invention is described with reference to the        FIG . 13b illustrates an exemplary Data Screen of the
  accompanying drawings. In the drawings, like reference Location and Tracking software used to manage conveyance
  numbers indicate identical or functionally similar elements. of tracking and zone information to specific users based on
  Additionally, the left-most digit ( s ) of a reference number 10 access codes ;
  identifies the drawing in which the reference number first         FIG . 13c illustrates an exemplary Zone Screen of the
  appears .                                                        Location and Tracking software used to define user - defined
     FIG . 1 illustrates an exemplary information - sharing envi- zones ;
  ronment including computing devices having wired or wire-          FIG . 13d illustrates an exemplary Size Screen of the
  less connectivity to the Internet and a map server, and 15 Location and Tracking software used to manage the size and
  various objects for which location information sources pro- other characteristics of a displayed map ;
  vide object location information ;                                 FIG . 13e illustrates an exemplary About Screen of the
     FIG . 2 illustrates an exemplary map retrieved from the Location and Tracking software used to provide a notice
  map server of FIG . 1 via the Internet that includes an icon  concerning Tracking Privacy Issues , software version infor
  indicating a location
  defined zones .
                        of a vehicle relative to three user- 20 mation , and copyright information ;
                                                                       FIG . 14 illustrates an exemplary Group Screen of the
    FIG . 3 illustrates a first embodiment of a method of the       Location and Tracking software used to manage information
  invention where object location event information is con- corresponding to groups of contacts ;
  veyed to computing devices based upon user identification            FIG . 15 illustrates an exemplary Contact Screen of the
  codes ;                                                        25 Location and Tracking software used to manage information
     FIG . 4 illustrates a second embodiment of a method of the corresponding to contacts;
  invention where object location information is conveyed to           FIG . 16 illustrates an exemplary Camera Screen of the
  computing devices based upon an object location informa- Location and Tracking software used to manage pictures to
  tion access code and user identification codes, and object be associated with contact location information ;
  location event information is conveyed to computing 30 FIG . 17 illustrates an exemplary Big Buttons Screen of
  devices based upon user identification codes;                     the Location and Tracking software used to provide easy
     FIG . 5 illustrates a third embodiment of a method of the access to key application commands while walking or
  invention where user - defined zone information is conveyed driving ;
  to computing devices based upon a user - defined zone infor-         FIG . 18 illustrates an exemplary Map Viewer Web Page
  mation access code and user identification codes , and object 35 used for displaying maps and other information conveyed by
  location event information is conveyed to computing the Location and Tracking software ;
  devices based upon user identification codes;                        FIG . 19 illustrates an exemplary Contact Viewer Web
     FIG . 6 illustrates a fourth embodiment of a method of the Page used for displaying contact information conveyed by
  invention where object location event information is con- the Location and Tracking software ;
  veyed to computing devices based upon an object location 40 FIG . 20 illustrates an exemplary web page -based display
  event information access code and user identification codes ; of a map overlaid with GPS tracking and zone information
     FIG . 7 illustrates a fifth embodiment of a method of the conveyed by the Location and Tracking software;
  invention where object location information are conveyed to          FIG . 21 illustrates an exemplary web page for creation of
  computing devices based upon an object location informa- a zone used by the Location and Tracking software ;
  tion access code and user identification codes , user -defined 45 FIG . 22 illustrates an exemplary map displayed on a web
  zone information is conveyed to computing devices based page depicting logging of contact location information while
  upon a user - defined zone information access code and user a contact is within a zone and logging of contact location
  identification codes , and object location event information is information when a contact enters or leaves a zone ; and
  conveyed to computing devices based upon an object loca-             FIG . 23 illustrates an exemplary map displayed on a web
  tion event information access code and user identification 50 page depicting a picture associated with a location of a
  codes ;                                                           contact.
    FIG . 8 illustrates an exemplary PDA Application Launch
  Screen used to begin execution of a Location and Tracking                    DETAILED DESCRIPTION OF THE
  software as implemented according to the present invention ;                          INVENTION
    FIG . 9 illustrates an exemplary Main Screen of the 55
  Location and Tracking software from which additional              The present invention will now be described more fully in
  screens are accessed ;                                         detail with reference to the accompanying drawings, in
     FIG . 10 illustrates an exemplary Configuration Screen of which the preferred embodiments of the invention are
  the Location and Tracking software used to manage infor- shown . This invention should not , however, be construed as
  mation corresponding to the user of the PDA ;               60 limited to the embodiments set forth herein ; rather, they are
     FIG . 11 illustrates an exemplary GPS Screen of the provided so that this disclosure will be thorough and com
  Location and Tracking software used to manage a GPS plete and will fully convey the scope of the invention to
  receiver that is associated with a user's PDA via a Bluetooth     those skilled in the art. Like numbers refer to like elements
  connection;                                                       throughout.
     FIG . 12a illustrates an exemplary Tracking Setup Screen 65 The present invention provides a system and method for
  of the Location and Tracking software used to control the defining an event that relates to a location of an object and
  rate at which GPS data is polled ;                            managing the conveyance of related information among


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  computing devices associated with corresponding user iden- environment, and so on . A family can set up its own
  tification codes. In accordance with the present invention , an information -sharing environment and an individual may set
  information - sharing environment consists of a computing up his or her own information - sharing environment. As
  network including a map server and computing devices . such , each information - sharing environment can be admin
  Objects associated with sources of location information 5 istered so as to manage conveyance of information among
  provide object location information comprising one or more computing devices based on user identification codes . Man
  coordinates . In an exemplary embodiment, the coordinates agement of users , groups, domains , and publicly available
  correspond to one or more determined locations of the object location information sources is described in greater
  objects within an established coordinate system . In the detail below .
  system and method of the present invention, an object can 10 Referring to FIG . 1 , information - sharing environment 100
  comprise any device, thing, person or entity that can be includes computing network 102 having wired and wireless
  located or tracked . A user of a computing device can retrieve network links 104 , 106 and connectivity to the Internet 108
  a map , for example, from a map server and define a that provides access to a map server 110 and map informa
  user -defined zone on the map . According to one aspect of the tion 112. Also shown are objects associated with sources that
  invention , an object location event is defined based on a 15 provide object location information. Location information
  relationship between one or more object locations and one or sources are shown including Global Positioning System
  more user -defined zones , where the occurrence of the object (GPS ) satellites 114a and GPS receivers 114b . Examples of
  location event is determined when a condition associated various types of computing devices are shown interfacing
  with the relationship is satisfied . Thus, an occurrence of the with the computing network 102 including a PDA 116a ,
  object location event is determined based on object location 20 PDA having a GPS receiver 116b , a wireless smart phone
  information and user -defined zone information . In other 118a , a wireless smart phone having a GPS receiver 118b , a
  words, an object location event is determined based on the laptop computer 120a , a laptop computer having a GPS
  location of an object relative to a user -defined zone . More receiver 120b , a personal computer 122a , a personal com
  generally, an object location event may be determined based puter having a GPS receiver 122b , and a digital television
  on the location( s ) of one or more objects relative to one or 25 124. Typically, one or more of the computing devices could
  more user -defined zones . Upon occurrence of the object be used as a control station . FIG . 1 also illustrates various
  location event, object location event information is con- examples of objects (e.g. , devices , things, people , vehicles,
  veyed to at least one computing device based upon a animals, etc. ) that can be associated with location informa
  corresponding user identification code ( s ) associated with the tion sources enabling object location information to be
  computing device( s ).                                          30 conveyed to computing devices. Examples of such objects
     The present invention can be implemented in a variety of depicted in FIG . 1 include a fireman 126a , semi truck 126b ,
  information - sharing environments. The sharing of informa- crate 126c , car 126d, cow 126e , woman 126f, soldier 126g ,
  tion may be managed among a small number of users such child 126h , dog 126i , and a building 126j. Generally, any
  as a family or group of friends, or among a very large object can be associated with a location information source
  number of users such as among employees of very large 35 in accordance with the present invention including the
  business , or among a worldwide user base such as a might computing devices themselves. Such objects may be out
  be provided via an Internet service . Furthermore , informa- doors or indoors and may be included within another object
  tion -sharing environments may involve information - sharing such as , for example, a crate 126c within a semi truck 126b .
  environments within information -sharing environments. Such objects may be mobile or fixed . At any given time ,
  That is , one or more smaller information - sharing environ- 40 mobile objects may be moving or stationary. An object may
  ments may overlap or coexist independent of each other located in any place , or be any thing. Examples of a place ,
  within one or more larger information - sharing environ- or thing, in accordance with the invention include a restau
  ments .                                                          rant, gas station , destination , airport, hospital, first aid sta
    In one embodiment, one or more administrators may be tion , hazardous location , vehicle repair shop , shopping mall ,
  given privileges to configure the information - sharing envi- 45 museum , park, residence , business , train station, bus station ,
  ronment. Such configuration could include specifying autho-         post office, bank , police station, first station , department
  rized users of the environment and their access privileges ,        store, or storage bin .
  etc. Such configuration can also define groups of users as            Although FIG . 1 depicts a wireless network tower to
  part of an established organizational structure associated represent wireless connectivity , any of various well known
  with the information - sharing environment. Pre -defined 50 forms of networking technologies such as WI - FI , Wireless
  zones comprising domains can be configured along with USB , cellular, Bluetooth , optical wireless, etc. can be used
  events that define relationships between object locations alone or in combination to provide the wired and /or wireless
  relative to such domains . Moreover, sources of publicly connectivity among the computing devices. Furthermore ,
  available object location information, such as weather track- any of various other location information sources can be
  ing systems, can also be configured for use with the system 55 used in place of or in combination with GPS to provide
  and method of the present invention . Because smaller infor- object location information . Alternative location informa
  mation - sharing environments can exist within larger infor- tion sources include cellular network based wide area loca
  mation -sharing information environments, various levels of tion systems, infrared -based location systems, ultrasound
  administrator privileges can exist . For example, an Internet based location systems , video surveillance location systems,
  service based on the present invention can be provided and 60 RF signal -based location systems such as WLAN - based
  administered such that anyone having access to the Internet location systems, ultra wideband location systems , and near
  can purchase the service and be an authorized user. A field electromagnetic ranging location systems . GPS sys
  purchaser of the service can set up a company -wide infor- tems may be augmented using space based augmentation
  mation -sharing environment within the larger world -wide systems ( SBAS ) and / or local area augmentation systems
  information -sharing environment that includes company 65 (LAAS ), radar -based information sources , and a data file .
  employees, affiliates, Board members, guests , etc. A division GPS systems can be outdoor GPS sources or indoor GPS
  within a company may set up its own information - sharing           sources . Alternatives to GPS also include GLONASS and



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  Galileo . Generally, any form of location information system computing devices that are associated with the users having
  can be used that can provide a coordinate of an object access to the information as specified by the access code .
  allowing an icon indicating the object location to be depicted       Under another arrangement, an access code is assigned to
  on a map .                                                         information in the form of a user -defined access code (i.e. ,
     In accordance with the present invention , the users of the 5 a password ) that a given user must have knowledge of in
  computing devices each have user identification codes that order to be granted access to the information. With this
  can be associated with the computing devices in order to approach , the user associating the access code with infor
  manage the conveyance of information to the computing mation defines the user - defined access code and then con
  devices based upon the identity of the user and information veys the user -defined access code to other trusted users to
  access privileges . Such user identification codes may be 10 which the user desires to have access to the information .
  managed by a control station or may be established based on Those trusted users must enter the access code into their
  user unique user information . Such codes would typically computing devices in order to be granted access to the
  include an identifier (e.g. , a user account name or user information .
  number ) and can be associated with one or more groups, and          Under still another arrangement, an access code specifies
  one or more information access privilege classifications, etc. 15 the individual users or groups having access to the infor
  For example , a given user may be included in a group mation to which the access code is associated provided a
  indicating members of a family, a company, a club , or an given user knows the password . As such , the access code
  association . Similarly, employees of a company may belong may specify one or more users and / or one or more groups
  to one or more defined groups within the company ( e.g. , that can enter the appropriate password in order to access the
  Management, Engineering , Accounting, etc.). Membership 20 information . With this approach , there are two conditions
  within a group may indicate the user can have access to that must be met to gain access , being included on the access
  confidential information such as company proprietary infor- list and having knowledge of the password allowing access
  mation or classified information such as the coordinates of to information to be managed by changing the access list
  military assets on a battlefield . Access to confidential infor- and / or changing the password .
  mation may also be based on an access privilege classifica- 25 Under yet another arrangement, an access code may
  tion, such as a security clearance level . In accordance with include a clearance classification code such as Proprietary,
  the invention, a user's access privileges can change by Confidential, Secret, Top Secret, etc. These access codes
  entering or leaving a domain , for example, the premises of may also specify individual users or groups and may be used
  a shopping mall , a particular store within a shopping mall , with passwords. For example , employees of a company
  a museum , a restaurant, an airport, etc. The use of domains 30 having at least a Secret clearance classification that know the
  in accordance with the present invention is described in password are provided access to certain information . Gen
  greater detail below . Furthermore, user identification codes erally, many different variations of access code approaches
  are typically associated with other user information such as can be used to practice the present invention .
  the user name, title , address information , email address ,         FIG . 2 illustrates an exemplary map 200 retrieved via the
  phone numbers , etc. As such, user identification codes can 35 Internet from a map service provider, such as YAHOO !,
  be associated with computing devices and used to manage displayed on a PDA or other computing device . Any map
  the conveyance of information among the computing available from any of various map providers via the Internet
  devices. Association of a given user identification code with can be used in accordance with the present invention .
  a given computing device may be via a user login process Referring to FIG . 2 , map 200 depicts an area including a
  whereby a user enters a user account name and password . 40 portion of Huntsville, Ala . alongside part of Redstone Arse
  Certain computing devices ( e.g. , a PDA or smart phone ) may nal , Ala . Shown on the map is an icon 202 that indicates the
  allow a user identification code to be embedded or pro- location of a car equipped or somehow associated with a
  grammed into a computing device's memory such that any source of location information , such as GPS . The location
  user of the computing device is considered to be the user information source determines the location of the car and
  owning the device.                                              45 conveys the object location information to the computing
     In accordance with the present invention , access codes environment to which the computing device displaying the
  can be associated with information to manage the convey- map is interfaced . Most location information sources include
  ance of the information to computing devices . Specifically, communications capabilities enabling them to convey object
  an object location information access code can be associated       location information . Also shown in FIG . 2 are three user
  with object location information . A user - defined zone infor- 50 defined zones 204 , 206 , and 208. Such user -defined zones
  mation access code can be associated with user - defined zone can be defined using various graphical techniques such as
  information and /or an object location event information selecting a point and dragging to another point causing a
  access code can be associated with object location event rectangular shaped zone (like 208 ) to be defined . Alterna
  information . These access codes can be used in various tively, a point can be selected indicating the center of a
  ways . In one arrangement, an access code specifies the 55 circular zone and a dragging action made to define a range
  individual users and / or groups of users having access to the of the circular zone (like 206 ) . Various other common
  information to which the access code is associated . Such an drawing techniques such as free form drawing can be used
  access code would typically include specific user identifi- to define a zone not having a basic shape (like 204 ) .
  cation codes and / or group codes . For example, by a user Furthermore , non drawing techniques can be employed to
  logging into a computing device , a given user identification 60 define a user - defined zone including use of coordinates
  code is associated with the computing device . The user stored in a database . For example , the perimeter coordinates
  identification code may also be associated with one or more of a surveyed property that are stored in a database could be
  groups having corresponding group identification codes .           automatically used to define a user - defined zone in accor
  The user identification code and group identification code ( s )   dance with the invention .
  are compared to those included in the access code whereby 65 In accordance with the present invention , one or more
  a match would indicate the user is authorized to receive the object location events can be defined relating a given
  information . As such , the information is conveyed to those user -defined zone to the location of a given object or objects.


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  Occurrence of an object location event can result in gener- ing and leaving the three user - defined zones and can be used
  ating relevant information (i.e. , object location event infor- to indicate characteristics of movement including the speed
  mation) or performing a function (i.e. , object location event of a vehicle .
  function ). The object location event function can include           FIG . 3 illustrates a first embodiment of a method of the
  generating a time/ date stamp, send an email , place a call , 5 invention where object location event information is con
  sound an alarm , etc. Thus, an object location event in veyed to computing devices based upon user identification
  accordance with the invention can require the performance codes . Referring to FIG . 3 , a first embodiment of a method
  or control of a function based on an object location relative 300 of the invention consists of six steps 302-312 . The first
  to a user -defined zone . An object location event can , for step 302 is to associate user identification codes with com
  example , be defined to occur when a specific object or any 10 puting devices. The association can be an embedded asso
  one or more objects enter, leave, or are within a defined ciation , for example, programming the user identification
  proximity of a user - defined zone . An object location event code in the memory of the computing device , or it can be
  may also be defined to occur periodically as long as an accomplished via a log - in process at the computing devices
  object is outside a user - defined zone or inside a user - defined using the user identification codes . The second step 304 is to
  zone . Alternatively, an object location event may be defined 15 associate a location information source with an object. Such
  to occur when the location of an object is determined to be association may involve equipping or attaching the object
  within a given proximity of a user - defined zone , for with or to the source of location information . A third step
  example, within 500 feet of a user -defined zone correspond- 306 is to define a zone . The zone can be defined by a user
  ing to the grounds of a school, a shopping mall , a building , at any time . A fourth step 308 defines an object location
  an army base , etc. An event may also be defined to occur 20 event in termsof a relationship between information relating
  when one or more objects or specific objects have entered or to the object location and user - defined zone. The fifth step
  exited one or user -defined zones or specific user - defined 310 is to determine an occurrence of the object location
  zones .                                                            event for example by detecting entry into , exit from or
      Referring again to FIG . 2 , an example scenario is proximity with the user -defined zone . A sixth step 312 is to
  described relating the location of the vehicle 202 to the three 25 convey object location event information to computing
  user -defined zones 204 , 206 , and 208. The exemplary sce- devices based upon the user identification codes , for
  nario involves a mother desiring to track the location of a example, by sending an e -mail . The step 312 can also
  teenage daughter while she drives the vehicle 202. The involve performing a function such as generating an alarm .
  vehicle 202 is equipped with a location information source           In accordance with one embodiment of the invention , any
  ( e.g. , a GPS receiver) and is configured to transmit the 30 user can associate a source of location information with an
  location of the car at some data rate ( e.g. , transmits location object, define a user - defined zone , and define an object
  every 5 seconds ) when the car is powered on (i.e. , car key location event. As such, in relation to the example scenario
  is in the on position) . The mother sets an object location of FIG . 2 , steps 304-308 of method 300 are used by the user
  information access code such that only the mother, specifi- (i.e. , a mother) to associate a GPS device with her daughter's
  cally, a PDA or other computing device used by the mother, 35 vehicle and define three user -defined zones corresponding to
  has authorized access to the object location information of the ballpark parking lot , restaurant, and university library .
  the vehicle 202. The mother and daughter discuss her The user can also define object location events in terms of
  scheduled activity for the day and the corresponding travel conditions that relate to entering into , leaving from or being
  among different places the daughter plans to go . According in the proximity of the three user - defined zones . As stated
  to the daughter's schedule , the daughter is to attend a 40 above , upon the occurrence of the object location events,
  softball game at a local ballpark , have lunch with friends at information can be conveyed to the mother's computing
  a local restaurant, and then go to a library on the campus of device via emails . Occurrence of event can also result in
  a local university to do research for a paper.                     performance of certain functions, e.g. , causing the mother's
      After discussing the daughter's plans for the day, the PDA to beep.
  mother, using a PDA , retrieves a map and defines the three 45 In addition to or alternatively to the event information ,
  user -defined zones relating to three locations the daughter is object location and / or zone information can be conveyed to
  supposed to be at during the day. Specifically, the mother the computing devices based on user identification codes ,
  creates the three user - defined zones 204 , 206 , 208 corre- which comprise a first level of access control. The convey
  sponding to the ballpark parking lot , restaurant, and univer- ance of any one or combination of the foregoing informa
  sity library, respectively, and defines object location events 50 tion , i.e. , location , zone and / or event, can be to the same
  for each user -defined zone . For each of the three user-          users or groups or different users or groups . A second, third ,
  defined zones 204 , 206 , and 208 , the mother defines an          or additional layers of access control can also be applied to
  object location event where the mother will receive an email       any one or combination of the location, zone and /or event
  indicating the occurrence and time of the object location information using corresponding access codes as further
  events , which correspond to when her daughter's car enters 55 described below .
  or leaves any of the three user -defined zones . The mother       Referring to FIG . 4 , another embodiment of a method 400
  defines each of the three " leaving user -defined zone ' object of the invention consists of six steps 302-312 of the first
  location events such that when they occur they cause her method 300 along with two additional steps 402 , 404. As
  PDA to make a sound ( e.g. , beep ) . The user -defined zones with the first method 300 , the first two steps 302 , 304 of
  and defined object location events allow the mother to know 60 method 400 associate user identification codes with com
  when the daughter has safely arrived at the three places the puting devices and associate a source of location informa
  daughter is to go that day. Furthermore , when the PDA tion with an object. With method 400 , however, the added
  beeps , the mother knows the daughter is in transit and can two steps 402 , 404 associate an access code with the object
  view the displayed map on the PDA to watch the icon location information and convey the object location infor
  indicating the location of the car as it travels between the 65 mation to computing devices based upon the access code of
  user -defined zones or to home. The emails received based on the object location information and user identification codes .
  the defined events provide a record of the daughter's enter- The final four steps 306-312 of method 400 are the same as


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  those of method 300 , including conveying object location          to the user -defined zone information is enabled to define an
  event information to computing devices based upon user object location event relating object location information to
  identification codes .                                        the user - defined zone information . Thus, under one arrange
     Thus, FIG . 4 illustrates an embodiment where the object ment, only the user who defines a user - defined zone can
  location information can be accessed by those users that 5 define an object location event relating to the user - defined
  have knowledge of the access code of the object location zone , while under another arrangement, any user (s ) having
  information . Under this embodiment, the user can give the access to user - defined zone information can define an object
  access code to other trusted users for accessing the location location event relating to the corresponding user -defined
  information . Those having the knowledge of access code for zone .
  the location information may or may not have access to other 10 FIG . 6 illustrates a fourth embodiment of a method of the
  information such as the zone or event. Alternatively, users invention where object location event information is con
  may be granted access to the object location information           veyed to computing devices based upon an object location
  based on the access code without having knowledge of the event information access code and user identification codes .
  access code .                                                Referring to FIG . 6 , a fourth embodiment of a method 600
     In accordance with another exemplary embodiment, any 15 of the invention consists of five steps 302-310 of the first
  one user can associate a location information source with an method 300 along with two additional steps 602 , 604. As
  object, define a user -defined zone , and define an object with the first method 300 , the first four steps 302 , 304 , 306 ,
  location event. The user that associates a location informa-       308 of method 600 associate user identification codes with
  tion source with an object can also associate an access code computing devices, associate a location information source
  with the object location information provided by the source . 20 with an object, define a user -defined zone , and define an
  As such, in relation to the example scenario of FIG . 2 , the object location event in terms of a relationship between
  mother can facilitate the conveyance of the object location object location information and user -defined zone informa
  information to another trusted user, who has knowledge of tion . With method 600 , however, step five 602 associates an
  the access code , such as the father of the daughter. The object location event information access code with the
  mother may or may not allow conveyance of the zone or 25 object location event information relating to the object
  event information to the father. Alternatively, a user may be location event. After step six 310 determines the occurrence
  granted access to the object location information based on of an object location event, step seven 604 conveys object
  the object location information access code without having location event information to the computing devices based
  knowledge of the access code .                                   upon an access code for the object location event informa
     Referring to FIG . 5 , a third embodiment of a method 500 30 tion and user identification codes . Thus, by using the object
  of the invention consists of six steps 302-312 of the first location event information access code, the mother could
  method 300 along with two additional steps 502 , 504. As enable both parents to receive the object location event
  with the first method 00 , the first three steps 302 , 304 , 306   information corresponding to the object location events
  of method 500 are to associate user identification codes with      defined by the mother. In other words, both parents could
  computing devices , to associate a location information 35 receive emails indicating when the daughter entered or
  source with an object, and to define a user -defined zone .        exited one of the three user -defined zones . In accordance
  With method 500 , however, the added two steps 502 , 504           with a preferred embodiment of the invention , the user that
  also associate an access code with the user - defined zone         defines object location events can also associate access code
  information . As a result , zone information can be conveyed       for information that correspond to object location events . By
  to the computing devices based upon the access code for the 40 also associating object location event information access
  user - defined zone information and user identification codes .    codes with the defined object location events , the mother can
  The final three steps 308-312 of method 500 are the same as enable the object location event information to be conveyed
  those of method 300 , including conveying object location to another user with knowledge of such access code , such as
  event information to computing devices based upon user the father of the daughter. Thus, with the method 600 in
  identification codes . The event information under this 45 relation to the example of FIG . 2 , the father would receive
  embodiment however may or may be conveyed to those the object location event information but may or may not
  users with knowledge of the user -defined zone information receive object location information or user -defined zone
  access code . As such , in relation to the example scenario of information .
  FIG . 2 , the method 500 enables the user (i.e. , the mother ) to   In an alternative arrangement, steps 502 and 504 of
  associate a GPS device with her daughter's vehicle, to define 50 method 500 could also be used with method 600 whereby a
  three user - defined zones , and to define object location events user ( e.g. , the mother) also associates an access code with
  associated with the three user -defined zones causing, upon the user -defined zone information for conveyance to another
  the occurrence of the object location events, emails to the user with knowledge of such access code ( e.g. , the father ).
  sent to the mother and her PDA to beep . By also associating Under such an alternative arrangement, the object location
  user - defined zone information access codes with the three 55 event can be defined by any user (s ) having access to the
  defined user - defined zones, the mother also enables the user - defined zone information or only the user that defined
  user - defined zone information to be conveyed to another the user - defined zone . In either case , only the user that
  user with knowledge of the access code , such as the father defines an object location event can associate an object
  of the daughter.                                                  location event information access code with object location
     In a further embodiment, steps 402 and 404 of method 60 event information corresponding to the object location
  400 could also be used with method 500 , whereby the user          event.
  ( i.e. , the mother ) also associates an object location access      FIG . 7 illustrates a fifth embodiment of a method of the
  code with the object location information such that both the invention where object location information is conveyed to
  mother and father receive the object location information computing devices based upon an object location informa
  allowing both parents to see the icon indicating the position 65 tion access code and user identification codes , user -defined
  of the daughter's car in relation to the three user -defined zone information is conveyed to computing devices based
  zones . In an alternative embodiment, any user having access upon a user - defined zone information access code and user


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  identification codes , and object location event information is lished to accommodate the coordinate system used by any
  conveyed to computing devices based upon an object loca- suitable map service . A typical coordinate system is known
  tion event information access code and user identification as the latitude, longitude, and height system . Alternative
  codes . Referring to FIG . 7 , in the method 700 , the steps of coordinate systems include the Earth Centered, Earth Fixed
  method 600 are again used with the addition of the two steps 5 Cartesian ( ECEF X - Y - Z ) coordinate system , Universal
  402 , 404 of method 400 and the two steps 502 , 504 of Transverse Mercator (UTM) coordinate system , Military
  method 500. With these additional four steps , when referring Grid Reference System ( MGRS ) , World Geographic Refer
  to the example of FIG . 2 , the mother could associate object ence System (GEOREF ) , Universal Polar Stereographic
  location information access codes and user -defined zone projection (UPS ), national grid systems, state plane coordi
  information access codes with object location information 10 nates, public land rectangular surveys, metes and bounds,
  and user -defined zone information, respectively, in such a etc. A coordinate system may also be established corre
  way as to allow both parents to receive emails, beeps, and       sponding to a domain , for example, an office building or a
  view the movement of the daughter's car using their respec-      shopping mall . Additionally, one or more users may define
  tive PDAs .                                                      a coordinate system for example, making the location of a
     In accordance with the present invention, an administrator 15 user's home or business or a user's own location the ( 0,0 )
  of an information -sharing environment maintains a database reference point within an X -Y coordinate system . As such ,
  of user information for those having access to the informa- computing devices used in accordance with the invention
  tion -sharing environment. Such a database can be main- may include means for translating between coordinate sys
  tained on a central or distributed control station that may be tems . Coordinate systems may be based upon the location
  a company's computer server or on an individual's personal 20 information source ( s) used . For example, a GPS receiver
  computer. Information maintained for a user typically location information source may be placed at a location, for
  includes a user account name and password and a user example the entry door of a building, and its GPS location
  identification code , and may include a variety of information in latitude and longitude and height used as a ( 0,0,0 )
  about the user including the user's name, address, phone reference point for a coordinate system used inside the
  number ( s ), email address (s ), company name, title , birth date , 25 building along with a second location information source
  etc. A user may be given access privileges to certain classes such as UWB system better suited for indoor operation . As
  of information based on the user's position or role within a such , one or more coordinate systems established by an
  company or family, a Government security clearance, and / or administrator or by a user of an information - sharing envi
  for other reasons deemed appropriate for a given informa- ronment can be used to provide object location information .
  tion -sharing environment.                                           30   In accordance with the present invention , when a user
     An administrator can define one or more groups to which associates multiple location information sources with an
  a given user can be associated . Groups may be defined in object, the user can determine whether or how the object
  accordance with an organizational structure or hierarchy. For location information is used ( e.g. , ombined ). In particular,
  example , an administrator for an information - sharing envi-     the user can determine how handoffs are to occur between
  ronment corresponding to a company may define groups for 35 location information sources such as switching among avail
  the various organizations within the company, such as legal, able GPS satellites based on received signal strength or
  accounting, shipping , etc. , and for groups of users not based switching between a GPS and UWB system when a user
  on organization, such as executive, management, adminis- goes indoors, which might be based on loss or degradation
  trative, exempt employees, non -exempt employees, etc. of a GPS signal. Handoff among location information
  After a group has been defined , the administrator can 40 sources can be based upon object location information .
  associate individual users with one or more of the defined    In accordance with the present invention, a user that
  groups . Similarly, a parent administering an information- associates an information location source with an object can
  sharing environment might define groups such as parents , determine how often object location information is updated .
  teenagers, children, drivers , and so forth . Information main- Under one arrangement, the user can determine the rate at
  tained for a group typically includes a group name and group 45 which object location information is provided . Under
  identification code , and may include a variety of information another arrangement, object location information may be
  about the group including the group's address , phone num- provided by the location information source at a certain rate
  ber, email address, website , point- of - contact, etc. As such , a which the user may select as the appropriate update rate or
  user may be associated with one or more groups defined by the user may select to update object location information
  an administrator of an information -sharing environment. 50 less often or to only maintain (or use ) the current object
     In accordance with the present invention, any user can location information . Depending on whether object location
  define a group , for example, a group of friends, a study information is being logged (i.e. , stored ) and / or conveyed to
  group , etc. Information for such user - defined groups may be other users , decisions concerning the update rate typically
  maintained in a central database or may be maintained on an involve a tradeoff of available storage capabilities ( e.g. , in
  individual user's computer. As such , knowledge of the 55 memory, to a physical storage media, etc.) versus granularity
  defined group may be available to other users of an infor- of stored object location information and resulting accuracy
  mation - sharing environment or may be maintained solely for of its display on a map . For example, object location
  an individual user's benefit.                                       information stored in a log file once every 5 seconds would
     In accordance with the present invention , one or more allow a more accurate display of the movement of a vehicle
  location information sources can be associated with an 60 than object location information stored once per minute , but
  object to provide object location information consisting of a the once per 5 second update rate requires twelve times the
  one or more coordinates corresponding to one or more              storage space compared to the space required to store object
  determined locations of the object within an established location information once per minute . When only maintain
  coordinate system . In accordance with the invention, one or ing the current object location information , the same
  more coordinate systems can be established by an adminis- 65 memory /storagelocation can be repeatedly rewritten . The
  trator to describe object locations within an information- selected update rate also determines how often the object
  sharing environment. The coordinate system may be estab-          location information can be conveyed to users . The user can


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  also determine whether a time stamp is associated with each sharing environment receiving object location information ,
  update to indicate the actual time that an object was at a zone information , and / or object location event information
  given location .                                                that is to be displayed on the map . However, certain types of
     As previously described , the user that associates an infor- devices may be included in the information sharing envi
  mation location source with an object can also associate an 5 ronment that do not have the ability to receive or display a
  object location information access code with the object map but that can receive useful object location information ,
  location information provided by the information source and zone information, and / or object location event information ,
  can thereby manage the conveying of the object location nonetheless. For example, an expecting woman might define
  information to one or more users . As generally described a zone around her hospital and an object location event
  above , an object location information access code can 10 causing her Blackberry to call her sister's cellular telephone
  specify individual users or groups allowed access to the when her car enters the zone telling her that she has safely
  object location information , may specify a password a user arrived at the hospital to deliver her baby.
  must know to receive access to the object location informa-        Various commonly used map display management tech
  tion, and /or may include a clearance classification code . As niques can be employed in accordance with the present
  such , the object location information access code determines 15 invention . For instance, an automatic zoom level selection
  which user( s) are conveyed the object location information . scheme may be established where the zoom level defaults to
     In accordance with the present invention, a user that the closest in level that can display all user - defined zones .
  associates an information location source with an object can An automatic centering approach might set the center of the
  determine whether to store object location information in a map to correspond to the location of a given object such as
  log file, which can be played back . The storage of object 20 the current location of a user or to the average location of
  location information to a log file may be the result of the multiple objects. Icons can be set to flash to indicate
  occurrence of a defined object location event. For example, movement or non -movement of an object. Colors of lines or
  a user could define two zones , a first object location event areas indicating a zone may change when an object has
  that starts logging object location information when an entered or exited the zone . Such map display management
  object exits the first zone , and a second object location event 25 techniques may be controllable by an administrator and / or
  that ends the logging of object location information when by individual users .
  the object enters the second zone , thereby allowing the In accordance with the present invention, a user can define
  movement of the object between the two zones to be a user -defined zone on a map that can then be used to define
  reviewed at a later time . Alternatively, object location infor- an object location event relating object location information
  mation may be provided by a simulation . For example , 30 to user - defined zone information . A user - defined zone can be
  military officers could define battle plans based upon move- defined graphically using various techniques such as select
  ment of personnel and equipment having location informa- ing a point and then dragging to another point to define
  tion sources into and out of defined zones and corresponding either a rectangular shaped zone or a circular zone , drawing
  object location events . For training purposes, the movement a zone by freehand to create a zone having an oddly shaped
  of personnel and equipment could be produced by a simu- 35 boundary, etc. As such , a user - defined zone has a boundary
  lation that inputs the object location information into the that can be specified in accordance with an established
  information sharing environment allowing the military offi- coordinate system . Typically user - defined zone information
  cers to react by changing plans, defining new zones , new maintained for a user - defined zone includes a zone identi
  object location events , etc. Furthermore, object location fication code and its boundary coordinates and may include
  information may be provided by emergency information 40 a zone name , a zone security level , a zone danger level, etc.
  sources , which might indicate the location of a fire, flood , Generally, a user that defines a zone can associate zone
  earthquake, bridge out , etc. or by weather information information with the zone that can be conveyed to other
  sources , which might indicate the location of a severe users .
  thunderstorm , tornado , winter storm , hurricane , etc.                As stated above, a user that defines a zone can also
     In accordance with the present invention, object location 45 associate a zone information access code with the user
  information and zone information is displayed on a map defined zone information corresponding to the user -defined
  received from a map information source . In the example zone and can thereby manage the conveying of the user
  described previously in relation to FIG . 2 , a map from an defined zone information to one or more users . As generally
  Internet map service was used that shows the streets of the described above , a user -defined zone information access
  city of Huntsville, Ala . at an appropriate scale for illustrating 50 code can specify individual users or groups allowed access
  the movement of the daughter among three locations in the to the user - defined zone information , may specify a pass
  city. Under one scenario , a user could zoom in or out from word a user must know to receive access to the user - defined
  a street scale to a world scale . Generally, any electronic map zone information, and / or may include a clearance classifi
  can be used in accordance with the present invention as cation code . As such , the user - defined zone information
  appropriate to meet the informational requirements of the 55 access code determines which user( s ) are conveyed the
  users involved . Furthermore , multiple maps can be used user -defined zone information .
  allowing different levels of scale as appropriate for the               In accordance with the present invention, a user can define
  requirements of the user( s ) involved in the sharing of an object location event relating object location information
  information . A world map might be used, for example, that to user - defined zone information . An object location event
  enables the locations of ships traveling to and from user- 60 may be something that is to occur whenever a specific object
  defined zones associated with various ports around the world enters and / or leaves a specific user - defined zone or an object
  to be displayed. A map of an amusement park might be used location event may be something that is to occur whenever
  by a family visiting the park . A map may correspond to the an object is or is not within a specified proximity of a
  inside of a building such as an office building or a shopping user - defined zone . Under one aspect the invention, the
  mall . A map may correspond to a battlefield . As such , map 65 occurrence of an object location event results in the con
  information corresponding to a given electronic map would          veyance of object location event information which includes
  be accessible to the computing devices of the information          object location information and user - defined zone informa


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  tion . Typically , object location event information maintained   near an escalator. One of them defines a user -defined zone on
  for a defined object location event includes an object loca- the mall's map corresponding to the sitting area and an
  tion event identification code and may include an object object location event whereby the smart phones are sent an
  location event name, a time stamp, an object location event email and caused to beep when any of the girls enters the
  security level, an object location event danger level , etc. 5 sitting area . They then split up to do some shopping . As they
  Generally, a user that defines an object location event can walk about the mall , they walk near kiosks that recognize
  associate object location event information with the object their presence within predefined areas within the mall ( via
  location event that can be conveyed to other users . Under the smart phones ) and the kiosks provide personalized
  another aspect of the invention , the occurrence of an object specials such as , “ Cindy. Your favorite pre -washed jeans are
  location event results in performance of a function , includ- 10 30% off ! ” When one of the girls finishes shopping, and goes
  ing the control of a device such as a camera, motion sensor, to the sitting area , the other two girls are automatically
  garage door, web cam , lighting device, etc.                     emailed and their phones beep so that they know to go meet
     In accordance with the present invention , a user that their friend at the sitting area . With this example, the
  defines an object location event can also associate an object user - defined zone ( i.e. , the sitting area ) and the object
  location event information access code with the object 15 location event (i.e. , the emails /beeps) were not predefined as
  location event information corresponding to the object loca- were the personalized specials provided by the kiosks as the
  tion event and can thereby manage the conveying of the girls walked into predefined zones .
  object location event information to one or more users . As        Thus, a key distinction between the user -defined zones of
  generally described above , an object location event infor- the present invention and predefined zones of previous
  mation access code can specify individual users or groups 20 location - aware applications is that the occurrence of object
  allowed access to the object location event information , may location events and the management of the conveyance of
  specify a password a user must know to receive access to the object location event information is determined by the user
  object location event information, and / or may include a of the computing device and not by someone else . Take for
  clearance classification code . As such , the object location     example , a traveling salesman who wants to make his day
  event information access code determines which user( s ) are 25 more efficient. In accordance with the present invention ,
  conveyed the object location event information .                prior to venturing out on the road , the salesman determines
    An important distinction exists between the user -defined the nine sales calls he intends to make for the day and defines
  zones and object location events of the present invention ,       a user - defined zone about each sales call location . For each
  and predefined zones ( or domains ) and predefined object user - defined zone he defines object location events related to
  location events that have previously been used in location- 30 the location of his car and each zone . The time he enters or
  aware applications . Predefined zones are used to provide leaves each zone is to be recorded and , as he enters each
  location -aware functionality in a useful but predetermined zone , his PDA is to automatically receive the latest , up - to
  manner where users of computing devices within the infor- the -minute customer information maintained by his sales
  mation sharing environment do not define the domain( s ) or office . For all but his last sales call he defines an object
  the events that occur as objects enter or leave the domains . 35 location event for when he leaves the corresponding zone to
  A predefined zone may be a house , a room , a business email his next sales call to let them know that he's en route
  perimeter, or a predefined area within a much larger area . to their business. The email sent when leaving his fourth call
  One or more events involving the location of objects relative specifically mentions he'll be arriving in about one hour that
  to the predefined zone is predetermined. The user of the is to include a lunch break . He also defines an object location
  computing devices in prior art shared information environ- 40 event to email his wife letting her know the time when he
  ment participates but does not otherwise control or manage leaves the zone corresponding to his last sales call thus
  the conveyance of information , which has all been prede- allowing her to better plan her evening .
  termined . For instance, an alarm condition may be set when           In accordance with the present invention , information
  a person carries an object having a non - deactivated RFID packages can be associated with object location information ,
  tag into a predefined zone about an exit to a store whereby 45 user - defined zone information , and / or object location event
  the alarm condition causes a recorded warning message to information where an information package may include a
  play on a loudspeaker. A motion detector may detect a picture, movie , audio file , document, and / or data file. The
  person walking through a predefined area near a building information packages may include sensor information
  and turn on a light. Kiosks within a zoo may interact with received from one or more sensors including those sensors
  individuals carrying tracking devices that enter predefined 50 that measure a characteristic of a physical environment, such
  areas about the kiosks. A super mall , itself a domain , may be as temperature , humidity, radioactivity, etc. and / or sensors
  subdivided into its tenant stores or even departments within that measure physical characteristics, such as heart rate ,
  stores, each a separate domain , and customers carrying breathing rate, etc. At least one time stamp may be associ
  tracking devices may be offered specials as they move about ated with an information package indicating the timing of
  the mall .                                                      55 the information included in the package, for example, the
     The user -defined zones of the present invention can be times when pictures were taken or sensor measurements
  defined by any user of the information sharing environment. were made . Under one arrangement, any user can associate
  User- defined zones can be used in conjunction with an information package with object location information ,
  domains . For example , three teenage girls, each carrying a user -defined zone information, and / or object location event
  smart phone with a location information source , go to a mall 60 information .
  where each of the three girls is a member of the mall's               In accordance with the present invention , a user that
  interactive shopping club . As they enter the mall , their smart associates an information package with object location
  phones automatically interface with the information sharing information , user - defined zone information , and / or object
  environment available within the mall . Their phones load the location event information can also associate an information
  mall's map and begin to indicate their locations within the 65 package access code with the information package and can
  mall . The girls decide to split up and meet later at their thereby manage the conveying of the information package to
  favorite hangout spot within the mall , which is a sitting area one or more users . As generally described above , an infor


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  mation package access code can specify individual users or to ON , location packet are saved in individual records that
  groups allowed access to the information package, may can be displayed as a ‘ Mapped Track on a user's PDA ,
  specify a password a user must know to receive access to the Phone, or PC .
  information package, and / or may include a clearance clas- 5 Current and prior user location information for one or
  sification code . As such , the information package access more users can be conveyed to one or more users having
  code determines which user ( s) are conveyed the information access privileges to the user location information for display
  package.                                                        on the one or more users ' computing device ( s ) . The current
     Generally , the present invention enables any user of a position of a given user is indicated by a black square. As
  multiple user computing environment to define object loca 10 andsuch , as the user moves , black squares indicate the current
  tion events relating object location information to user or path    past location of the user thereby showing the movement
  defined zones and to manage to conveyance of object                      of the user.
                                                                     Zones
  location event information based on user identification receiver indicates comprise geographic boundaries . If the GPS
  codes . By also using access codes , multiple users can boundary, an exit ora entry    user's location passes over a zone
                                                                                               alert is issued . A notification is
  collaboratively define and manage events and manage the 15 sent to one or more individuals
  conveyance of corresponding object location information , created . Different types of zonesas can   defined when the zone is
                                                                                                           be created with each
  user - defined zone information, and / or object location event zone type causing different types of information to be
  information among computing devices. Moreover, the pres- conveyed when a user's location enters, exits, and / or is
  ent invention provides a system and method for generating within a zone . Codes associated with the zones determine
  user -defined location aware applications. Described below 20 which users receive location information . As such , the codes
  are four examples of such user -defined location aware associated with the zones correspond to the zone informa
  applications that are supported by the present invention .      tion access codes and object location event information
  Parole Officer Support                                          access codes described generally above . Specifically, by
    Parolees have associated with them a location information          sharing the Phone number and Code other users can ‘ load ?
  source . A parole officer can , on a case -by - case basis , identify 25 the zone into their device and it will respond with alerts to
  good locations and bad locations for parolees and define the defined addressees thereby enabling group tracking and
  object location events for entering such good and bad location management.
  locations causing him to be notified of a given parolee Screen              FIG . 8 illustrates an exemplary PDA Application Launch
  visiting the locations .                                                          800 used to begin execution of the Location and
  Pet Tracking                                                          30 Tracking software . Referring to FIG . 8 , a PDA application
     A pet has associated with it a location information source . launch            screen 800 typically includes various icons corre
                                                                           sponding to programs available for execution such as the
  The pet owner defines zones that the pet is supposed to stay Location and Tracking software icon 802. When a user
  in ( e.g. , a yard ) and may define zones in which the pet is not selects the Location and Tracking software icon 802 , the
  allowed (e.g. , a garden ). An object location event for leaving
  the yard sends an email and phones the pet owner. An object 35 Location      and Tracking software is executed .
                                                                       FIG . 9 illustrates an exemplary Main Screen 900 of the
  location event for entering the garden might cause a siren to Location        and Tracking software that appears when the
  go off to scare the pet .                                         software  is launched . The Main Screen 900 is the primary
  Child Tracking                                                    screen from which additional screens of the software are
    A child has associated with it         location information 40 accessed via the buttons labeled Maps, Contacts, GPS ,
  source . A parent identifies zones in the neighborhood where      Config, Groups, Camera , and Buttons . Main Screen 900 is
  the child is allowed to play and explicitly not allowed to        also the screen to which the user of the software is returned
  play. Object location events are defined where the parent is      when closing screens associated with the buttons. The Exit
  emailed or otherwise notified as the child moves about the button ends execution of the software and returns the user to
  neighborhood .                                                 45 the Application Launch Screen 800 .
  Hiking                                                               FIG . 10 illustrates an exemplary Configuration Screen
     Several hikers have associated with them location infor-       1000 of the Location and Tracking software used to manage
  mation sources . The hiking trail as indicated on a map information corresponding to the user of the PDA (or other
  includes user - defined zones corresponding to key locations computing device ) . The user of the program accesses the
  along the route . Object location events are defined such that 50 Configuration Screen 1000 by selecting the Config button of
  each hiker receives an email on their smart phone whenever the Main Screen 900. Configuration Screen 1000 provides
  another hiker enters or exits a zone .                            fields for entering a user data access code, user phone
     The present invention is implemented by a Location and number, log file name, and a user domain or IP address . The
  Tracking software that executes on PDAs , telephones, and screen is also used to toggle logging on and off.
  personal computers. The Location and Tracking software is 55 FIG . 11 illustrates an exemplary GPS Screen 1100 of the
  used for tracking the location of a user whereby user location       Location and Tracking software used to manage a GPS
  information is conveyed to contacts based upon the location  receiver that is associated with a user's PDA (or other
  of the user relative to one or more zones defined by the user.
                                                               computing device ) via a Bluetooth connection . GPS Screen
  As such , user location information described below corre-   1100 includes fields for displaying and controlling GPS
  sponds to object location information generally described 60 device settings, a button for turning the Bluetooth connec
  above .                                                      tion on and off, a button for turning the GPS device on and
    The Location and Tracking software is typically used in off, and buttons for controlling whether real -time or simu
  the LOCATION mode . This means that a GPS connection is              lated GPS data is conveyed. GPS Screen 1100 also includes
  active and a polling rate is set to periodically send location Setup button 1102 used to launch the Tracking Setup Screen .
  packets indicating the location of the user to a central 65 FIG . 12a illustrates an exemplary Tracking Setup Screen
  database . If a user sets TRACKING to OFF, location packets 1200 of the Location and Tracking software used to control
  only update the current location record . If TRACKING is set the rate at which GPS information is polled, to examine GPS


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  information records , and to turn on or off the TRACKING            code for each ‘ buddy '. If a public zone is available it can be
  mode . Tracking Setup Screen 1200 includes Files button             selected and loaded into the user's device . Users share
  1202 that is used to launch Log File Selection Screen 1204 access codes in order to share zones . As such , a user tells
  that is used to select a log file . A log file can be written to another user the access code needed to load a zone .
  and then later read, as controlled by the Use button , to cause 5 FIG . 15 illustrates an exemplary Contact Screen 1500 of
  a play back of GPS information .                                 the Location and Tracking software used to manage infor
     FIG . 12b illustrates an exemplary Log File Selection mation corresponding to contacts (i.e. , other users ) . The
  Screen 1204 of the Location and Tracking software used to Contact Screen 1500 allows the user to populate information
  select a log file for storing GPS information. Log File corresponding to contacts such as name and address infor
  Selection Screen 1024 provides a typical Open dialog win- 10 mation      .
  dow allowing a user to open a log file stored at any storage        FIG . 16 illustrates an exemplary Camera Screen 1600 of
  location to which the user ( and the user's device ) has access .   the Location and Tracking software used to manage pictures
     FIG . 13a illustrates an exemplary Map Screen 1300 of the        associated with user location information . The Camera
  Location and Tracking software used to display a map
  received from a map server. The Map Screen 1300 is used 15 Screen 1600 is used to associate pictures and text with a user
  to request and locate a map using the current latitude and          and to convey the picture information to other users . The
  longitude of the user, to turn the TRACKING mode on or pictures correspond to information packages described gen
  off, to display /edit data location records, to create zones , and erally above, which could also include other forms of
  to size the map . These various functions are controlled via information . The Camera Screen 1600 could alternatively be
  a row of buttons 1302 at the bottom of Map Screen 1300. 20 a Device Screen that controlled multiple devices including
  The row of buttons 1302 is also displayed on the bottom of          cameras, motion sensors, garage doors, web cams , etc. and
  Data Screen 1304 , Zone Screen 1306 , Size Screen 1308 , and        corresponding information as described previously. As
  About Screen 1310 .                                                 described previously, picture or other information packages
    FIG . 13b illustrates an exemplary Data Screen 1304 of the        can be associated with zone information or event informa
  Location and Tracking software used to manage conveyance 25 tion .
  of tracking and zone information to specific users based on        FIG . 17 illustrates an exemplary Big Buttons Screen 1700
  access codes . It is accessed by selecting the Data button      of the Location and Tracking software used to provide easy
  included in the row of buttons 1302 displayed on the bottom     access to key application commands while walking or
  of Data Screen 1304 , Zone Screen 1306 , Size Screen 1308 ,     driving .
  and About Screen 1310. Specifically, Data Screen 1304 is 30 FIG . 18 illustrates an exemplary Map Viewer Web Page
  used to set access codes and to associate email addresses and 1800 used for displaying maps and other information con
  phone alerts with zones .                                       veyed by the Location and Tracking software.
     FIG . 13c illustrates an exemplary Zone Screen 1306 of the      FIG . 19 illustrates an exemplary Contact Viewer Web
  Location and Tracking software used to define user - defined Page 1900 used for displaying contact information conveyed
  Zones . It is accessed by selecting the Zone button included 35 by the Location and Tracking software .
  in the row of buttons 1302 displayed on the bottom of Data         FIG . 20 illustrates an exemplary web page -based display
  Screen 1304 , Zone Screen 1306 , Size Screen 1308 , and of a map 2000 overlaid with GPS tracking and zone infor
  About Screen 1310. The Zone Screen is used to define a mation conveyed by the Location and Tracking software. In
  zone and / or to load a zone defined by another user. A user FIG . 20 , balloon icons labeled alphabetically that indicate
  can use the Zone Screen to control whether zone information 40 logged locations of a user for which information is available .
  is shared ( i.e. , made public ) to other users and to control Also shown are two zones represented by rectangles. When
  whether the TRACKING mode is on or off.                         a given balloon is selected , information is displayed, for
     FIG . 13d illustrates an exemplary Size Screen 1308 of the example , as shown in the information box in the center of the
  Location and Tracking software used to manage the size and          map corresponding to the balloon labeled F. Similarly,
  other characteristics of a displayed map . It is accessed by 45 information is displayed corresponding to either of the zones
  selecting the Size button included in the row of buttons 1302       when either is selected .
  displayed on the bottom of Data Screen 1304 , Zone Screen            FIG . 21 illustrates an exemplary web page for creation of
  1306 , Size Screen 1308 , and About Screen 1310. The Size zones 2100 that can be used with the Location and Tracking
  Screen 1308 is used to set the scale ( or zoom) of the map , software. As shown in FIG . 21 , a zone is created by selecting
  to turn on or off the display of zone boundaries, and to 50 a first point on a map indicated by a first balloon and
  control auto centering of maps .                                  dragging to another point on a map indicated by a second
     FIG . 13e illustrates an exemplary About Screen 1310 of balloon where the two points correspond to opposite corners
  the Location and Tracking software used to provide a notice of a rectangle representing the user -defined zone boundary .
  concerning Tracking Privacy Issues , software version infor-         FIG . 22 illustrates an exemplary map displayed on a web
  mation , and copyright information . It is accessed by select- 55 page 2200 depicting logging of user location information
  ing the About button included in the row of buttons 1302 while a user is within a zone and logging of user location
  displayed on the bottom of Data Screen 1304 , Zone Screen information when a user enters or leaves a zone . As depicted
  1306 , Size Screen 1308 , and About Screen 1310 .                 in FIG . 22 , one type of zone 2202 provides user location
     The row of buttons 1302 displayed on the bottom of Data information periodically while a user is within the zone .
  Screen 1304 , Zone Screen 1306 , Size Screen 1308 , and 60 Another
  About Screen 1310 also includes a Close button that when
                                                                      type of zone 2204 only provides user location
                                                             information when the user enters or exits the zone .
  selected returns the user to the Main Screen 900 .           FIG . 23 illustrates an exemplary map displayed on a web
     FIG . 14 illustrates an exemplary Group Screen 1400 of page 2300 depicting a picture associated with a location of
  the Location and Tracking software used to manage infor- a user . As shown in FIG . 23 , a balloon labeled F corresponds
  mation corresponding to groups of contacts . The Group 65 to a location of a user. An information package consisting of
  Screen 1400 is used to add or remove users from a stored            a picture that has been associated with the user's location is
  'buddy list containing the user name, phone number and              available as part of the information displayed when the


                                                                                                                                  Exhibit G
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                                                       US 11,064,038 B2
                                23                                                                     24
  balloon is selected . In the information window is a thumb                    mobile device or locations of the second mobile device
  nail of the picture which when selected displays the fully                    relative to a zone or boundary and 2 ) a second event
  enlarged picture.                                                             condition for occurrence of a second driving event that
     The Location and Tracking software described herein was                    is met based on sensor information received from
  provided as an example of the types of applications that are 5                sensors that measure characteristics of a physical envi
  enabled by the present invention. While particular embodi                     ronment detected at the first mobile device or the
  ments and several exemplary applications ( or implementa                      second mobile device ;
  tions ) of the invention have been described , it will be                ( f) conveying a first driving event notification after the
  understood   , however, that the invention is not limited                     first event condition is met based on the zone or
  thereto , since modifications may be made by those skilled in 10              boundary and determined locations of the first mobile
  the art, particularly in light of the foregoing teachings . It is ,           device or the second mobile device ; and
  therefore, contemplated by the appended claims to cover any              ( g ) conveying a second driving event notification after the
  such modifications that incorporate those features or those                   second event condition is met, wherein the first event
  improvements which embody the spirit and scope of the                         driving notification or the second driving event notifi
  present invention .                                         15                cation is conveyed only to recipients identified by the
    The invention claimed is :                                                  access code .
     1. A notification method that uses locations of mobile is 2.identified
                                                                      The notification method of claim 1 , wherein a zone or
                                                                              by a zone access code comprising a zone ID
  devices carried in vehicles to convey driving event notifi included in the     first event notification .
  cations when driving events occur, wherein the notification      3. The notification method of claim 1 , wherein the char
  method is executed by one or more servers having access to 20 acteristics of the physical environment corresponds to
  a database (DB ) , wherein the one or more servers are
  configured by a tracking application software of a tracking motion , speed or temperature .
  service provider, which controls conveyance of the driving       4. The notification method of claim 3 , wherein the sensor
  event notifications in a tracking service used by authorized          information correspond to a speed of the first vehicle that
  users of a plurality of companies having corresponding 25 carries    the first
                                                               that carries the mobile
                                                                                 second device
                                                                                        mobileordevice
                                                                                                  a speed
                                                                                                       . of second vehicle
  authorized user accounts accessible based on information
  stored in the DB , each company tracking one or more groups             5. The notification method of claim 3 , wherein the sensor
  of vehicles based on mobile device locations, which are               information correspond to a detected motion that indicates
  determined based on information received from wireless                movement or non -movement of the first vehicle or the
  location  information sources (LISs ), the method comprising: 30 second
     (a ) using one or more first computing devices in a first       6. Thevehicle . method of claim 5 , wherein the second
                                                                            notification
       network of computing devices of the tracking service             event notification contains a period of movement or a period
       provider to configure the tracking application software          of non -movement of the first vehicle or the second vehicle .
       by identifying a plurality of groups in the DB using               7. The notification method of claim 1 , wherein the autho
       group identification codes (GIDs) stored in the DB, a 35 rized
                                                                or theusers of thevehicle
                                                                        second      company
                                                                                          eachinclude
                                                                                                havingdrivers of the first vehicle
                                                                                                        a corresponding     driver
       GID identifying a company which tracks a group of                identification code associated with corresponding driver
       vehicles including a first vehicle that carries a first          user accounts , and wherein the method further includes
       mobile device and a second vehicle that carries a
       second mobile device, wherein the GID is associated in           receiving a log - in request from the first mobile device or the
       the DB with a plurality of user identification codes that 40 second mobile device containing a driver identification code
                                                                    and granting access to a diver user account.
       identify authorized users of the company, and wherein               8. The notification method of claim 1 , further including
       the tracking application software is further configured          the step of receiving from the first mobile device or the
       to control access to the authorized user accounts of             second mobile device times when sensor measurements
       authorized users of the tracking service in the plurality
       of groups, said authorized users including 1 ) a group 45 were9. made  at the firstmethod
                                                                        The notification   vehicle ofor claim
                                                                                                        the second   vehiclea . sensor
                                                                                                              1 , wherein
       administrator of the company having a group admin                measurement indicates whether the first vehicle or the
       istrator identification code used to access a group
       administrator account and 2 ) a first authorized user of         second vehicle is powered on .
       the company having a first authorized user identifica               10. The notification method of claim 1 , wherein the
      tion code used to access a first authorized user account; 50 locations
                                                                   determinedofusing
                                                                                the first vehiclemobile
                                                                                     the first      or thedevice
                                                                                                             secondor thevehicle as
                                                                                                                             second
    ( b ) receiving an access request to the group administrator
        account from a second computing device in a second mobile          device at a defined data rate when sensor measure
                                                                  ments indicate that the first vehicle or the second vehicle is
        network of computing devices different from the first powered        up .
        network of computing devices of the tracking service;
    (c ) granting access to the group administrator account 55 the step ofnotification
                                                                    11.  The                method of claim 1 , further including
        before associating, in the DB , the first authorized user second mobilereceiving    from the first mobile device or the
        identification code of the first authorized user with an pictures, moviedevice      an information package that contains
                                                                                    , audio file, document or data file associated
        access code in the DB that identifies recipients of the with driving events      .
        driving event notifications,
    (d) granting access to the first authorized user account 60 the12.stepTheofnotification method of claim 9 , further including
                                                                                receiving one or more time stamps associated
        based on the first authorized user identification code
        before conveying the driving event notifications to the with    the information package , said time stamps indicating
                                                                  timing of the information included in the information pack
       first authorized user,                                           age .
    receiving 1 ) a first event condition for occurrence of a first
       driving event that is met based on locations of the first                                *       *




                                                                                                                                    Exhibit G
                                                                                                                                Page 43 of 43
